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                           Debtor in Possession Anthony S. Levandowski
                      16

                      17                             UNITED STATES BANKRUPTCY COURT

                      18                             NORTHERN DISTRICT OF CALIFORNIA

                      19                                       SAN FRANCISCO DIVISION

                      20   In re:                                         Bankruptcy Case
                                                                          No. 20-30242 (HLB)
                      21   ANTHONY SCOTT LEVANDOWSKI,                     Chapter 11

                      22                                   Debtor.        Adv. Pro. No. 20-03050 (HLB)
                           ANTHONY LEVANDOWSKI, an individual,            CERTIFICATE OF SERVICE
                      23
                                              Plaintiff,
                      24
                                    v.
                      25
                           UBER TECHNOLOGIES, INC.
                      26
                                             Defendant.
                      27

                      28
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW
    SILICON VALLEY
                 Case: 20-03050          Doc# 311              CERTIFICATE
                                                      Filed: 05/14/21      OF SERVICE
                                                                        Entered: 05/14/21 18:30:51   Page 1 of 3
                       1          I am employed in the County of Los Angeles, State of California. I am over the age of 18
                       2   and not a party to the within action. My business address is 601 South Figueroa Street, Floor 41,
                       3
                           Los Angeles, California 90017.
                       4
                                  On May 11, 2021, I served or caused to be served the following documents on the
                       5
                           person(s) below:
                       6

                       7         PLAINTIFF ANTHONY LEVANDOWSKI’S NOTICE OF PUBLIC REFILING
                           OF DOCUMENTS PURSUANT TO ORDER ON AMENDED OMNIBUS MOTION TO
                       8   FILE UNDER SEAL (DKT. 300);

                       9          REDACTED EXHIBITS 1, 2, 10, 38, 50, 66, AND 72 TO THE FEBRUARY 23, 2021
                           DECLARATION OF HONG-AN VU (DKTS. 123-1, 123-2, 123-6, 125-6, 125-17, 126-14,
                      10
                           126-20);
                      11
                                  EXHIBITS 3–5, 18, 28, 53, AND 68–71 TO THE FEBRUARY 23, 2021
                      12   DECLARATION OF HONG-AN VU (DKTS. 123-3–123-5, 123-11, 124-5, 126-1, 126-16–
                           126-19); AND
                      13
                               EXHIBITS 89 AND 93–97 TO THE MARCH 25, 2021 SUPPLEMENTAL
                      14
                           DECLARATION OF HONG-AN VU (DKTS. 177-1, 177-5–177-9).
                      15
                                  The documents were served by the following means:
                      16
                                  (E-MAIL or ELECTRONIC TRANSMISSION) By electronic service. Based upon a
                      17          court order or an agreement of the parties to accept electronic service, I caused the
                                  documents to be sent to the persons at the electronic service addresses listed.
                      18

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                                  I declare under penalty of perjury under the laws of the State of California that the
                       5
                           foregoing is true and correct.
                       6
                                  Executed this 14th day of May, 2021 in Los Angeles, California.
                       7

                       8            Jhemari Quintana                 _                                                    _
                                  (Type or print name)                               (Signature)
                       9

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